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                  EXHIBIT 11
               Filed Under Seal




    OPENING EXPERT REPORT OF SAMRAT BHATTACHARJEE REGARDING
INVALIDITY OF U.S. PATENT NOS. 10,779,033 AND 9,967,615 AND OTHER ISSUES
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                                     (although the feature was disclosed in the YouTube Remote

patents well before Sonos's invention date, as I discuss in greater detail below).

       162.




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       163.




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               2.        Playback Queues And Recommended Videos

       165.    The YTR application allowed users to create queues of videos. Users could also

play back lists of recommended videos provided by                       .

       166.    For example, the image on the left below shows a YTR app lication prompting a

user to "press the plus button on the right of a video to add it to the queue."


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https://web.archive.org/web/20101227075329/https://androidcommunity.com/youtube-remote-

for-android-20101223/. see also Video #3 at 0:34-0:50 (showing user adding items to the queue).

Users could also edit the queue by, for instance, removing items from the queue or rearranging

their order. The image on the right is from a presentation entitled "YouTube Leanback Remote

Application" that is dated "April 2011" and shows an Android phone running a YouTube Remote

application with a number of videos having been added to the queue. GOOG -SONOS-NDCA-

00075619.




       167.   The YTR application also received                   of recommended videos. For

instance, the YTR application received "recommended" videos

                                                                             . For example, the


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YTR application display included a "Workspace" in which users could view various "stations"

(sometimes also referred to as "channels"). These stations could be of various types, including

user-editable queues, party queues (which I discuss in further detail in Section IX.A.2 below)

"recommended" videos, and stations created using the YTR's search functionality. The images

below show the Workspace and various stations:




https://web.archive.org/web/20101227075329/https://androidcommunity.com/youtube -remote-

for-android-20101223/.

       168.   This functionality is also reflected in the July 12, 2011 capture of the YouTube

Remote application.




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 169.   For example,




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               3.        Party Mode And

       170.    After the initial release of the YTR application on November 9, 2010, Google added

a feature to the YTR application called "party mode." This feature was reduced to practice in the

July 12, 2011 capture of the YTR application, as I discuss below.

       171.    The party mode feature allowed users of the YTR application to share a playback

queue with one or more of their friends. For instance, a host user (Alice) could create a playback

queue containing YouTube videos. The host user (Alice) can then use her YTR application to

invite one or more guests (e.g., Bob and Carol) to share her playback queue. The playback queue

was editable by all members of the party (Alice, Bob and Carol) and could be played back on the

mobile device of the host user and guest users, as well as the host user's Screen(s).

                                                      , enabling multiple users to manage the queue

during the party.



       172.    In particular, a user running the YouTube Remote application on their mobile phone

or tablet (the host user) could invite one or more guests to a "party."



               . In party mode, the "host" user sends a queue of videos

                    along with the list of guests. For instance, the inviteToParty function ( see



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                                                                                             can be

any one of the stations I discussed above. For example, it can be a user created queue or a list of

recommended videos (see id., lines 419-423). Thereafter, the host YouTube Remote application

goes into party mode (see id., lines 428-430).




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      174.   Guests (should they accept the party invitation) can receive the party queue that is

stored in the cloud. For example, each guest user's YouTube Remote application




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       176.    The host and guest users can also continue to edit and manage the cloud-hosted

party queue:




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Id. at 20-83.

                4.        Registering Screens To A Lounge Session

       178.     A YTR application and one or more Screens are paired together by logging into the

same YouTube account




       179.     A lounge session may have multiple devices associated with it, in particular a single

lounge session may support multiple Leanback Screens




                5.        Transitioning From Standalone Mode To Remote Control Mode

       180.     The prior art YTR application was able to transition from a first mode in which it

was configured to play back videos on the mobile device, to a second mode in which it acted as a

remote control for playback on the Screens. The first mode is sometimes referred to as

"standalone" mode, and the second mode is sometimes called "remote" control mode. See, e.g.,




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       293.    Initially, as I demonstrate later in this report, the written description of the ’033

patent does not provide adequate support for this limitation. Thus, the disclosure of this limitation

in the prior art exceeds what is provided in the written description.

       294.    I understand that this claim element includes one or more terms subject to

construction by the Court. Specifically, I understand that the Court has construed the term

"playback queue" to mean "[a] list of multimedia content selected for playback."

       295.    I further understand that the parties dispute the meaning of the term "remote

playback queue." I understand that Google contends that the term means "a playback queue

provided by a third-party application." However, I understand that Sonos disagrees with Google's

interpretation and contends that the term encompasses a cloud queue or a list of recommended

videos generated by a cloud server. See Section VI (Claim Construction). I agree with Google

that a POSITA would understand the plain meaning of "remote playback queue" in view of the

specification to refer to a playback queue provided by a third-party application.

       296.    In any event, I understand that claims are to be interpreted and applied in the same

way for both infringement and invalidity. At least under Sonos's interpretation of the claims, the

YouTube Remote system discloses and renders obvious this limitation.

       297.    Google's YouTube Remote system allowed a user to operate in a standalone mode

(first mode) in which the computing device (smartphone or

tablet) was configured to playback videos locally on the

computing device. For example, the image on the right

from Video #1 shows the user interface of the YTR

application when a user is playing a video on his phone. A

user of the YTR application could also rotate the phone, in




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which case the YTR application would play the video in full screen view. See Video #1 at 0:25-

0:40. The user could also play, pause, fast forward or rewind the video using the graphical

interface on the YTR application. Id. at 1:33-2:00.

       298.    When operating in standalone mode, the YouTube Remote application was also

configured to be able to play back

                                                                       Under Sonos's interpretation,

a YTR application is configured for "playback of a remote playback queue provided by a cloud-

based computing system associated with a cloud-based media service"

                                                                                       See Section VI

(Claim Construction), Section IX.A (YouTube Remote System). The prior art YTR application

discloses this limitation under Sonos's interpretation.

       299.    First, the prior art YTR application satisfies this limitation when playing the list of

recommended videos in standalone mode. The images below show examples of a user playing

back a list of recommended videos using the YTR application on the mobile phone.



                                                                                    See Section IX.A

(YouTube Remote System).




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 https://web.archive.org/web/20101227075329/https://androidcommunity.com/youtube-remote-

 for-android-20101223/



      300.   Second, the prior art YTR application satisfies this limitation when playing a "party

queue" in standalone mode. As I explained in Section IX.A (YouTube Remote System),




                                             140
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       321.    Second, Sonos's infringement contentions also point to the device-picker in the

accused YouTube applications. See 1-20-2022 Sonos Supplemental Infringement Contentions,

Ex. B ('033 Chart) at 19. On the left below is an excerpt from Sonos's contentions that illustrates

the device-picker in the accused YouTube application, while on the right is the device-picker

disclosed in the YouTube Remote Patent and implemented in the YouTube Remote system:




The device-picker in the YTR prior art application satisfies these limitations in the same way Sonos

contends the device-picker in the accused YouTube applications satisfies these limitations.

                       (vii)   Limitation 1.7: "based on receiving the user input, transmitting an
                               instruction for the at least one given playback device to take over
                               responsibility for playback of the remote playback queue from the
                               computing device, wherein the instruction configures the at least
                               one given playback device to (i) communicate with the cloud-based
                               computing system in order to obtain data identifying a next one or


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                               more media items that are in the remote playback queue, (ii) use the
                               obtained data to retrieve at least one media item in the remote
                               playback queue from the cloud-based media service; and (iii) play
                               back the retrieved at least one media item"

       322.    Initially, as I demonstrate later in this report, the written description of the ’033

patent does not provide adequate support for this limitation. Thus, the disclosure of this limitation

in the prior art exceeds what is provided in the written description.

       323.    Sonos's applies this limitation broadly for purposes of its infringement allegations.

For example, in its infringement contentions Sonos appears to accuse two separate instructions-

one sent from the alleged "computing device" and another sent from a MDx server-as satisfying

the limitation "transmitting an instruction for the at least one given playback device to take over

responsibility for playback of the remote playback queue from the computing device."

Specifically, Sonos claims that this limitation is satisfied by transmitting a setPlaylist message (the

accused instruction) to a MDx server in the cloud, and then transmitting a separate message from

the MDx server to the accused playback device. See 3-25-2022 Sonos Infringement Contentions,

Ex. B ('033 Patent) at pp 27-50. I also understand that Sonos contends that the claim limitation

does not require a single instruction that configures the at least one given playback device to

perform sub-limitations (1)-(3), but rather that multiple instructions can collectively configure the

at least one given playback device to perform sub-limitations (1)-(3).

       324.    Additionally, I understand that Sonos is reading the term "remote playback queue"

to encompass a cloud-hosted queue and a list of recommended videos provided to a mobile device

by a server in the cloud. See Section VI (Claim Construction).

       325.    I understand that claims are to be interpreted and applied in the same way for both

infringement and invalidity. Thus, at least under Sonos's interpretation of the claims, the prior art




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                             I discuss both scenarios below.

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      328.




                                                                      See Section IX.A

(YouTube Remote System).

      329.




      101




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URL, is used to retrieve the media content from the Bandaid CDN, which is then played back on

the device. See Section X.A (YouTube Remote System).

                       (viii)   Limitation 1.8: "detecting an indication that playback responsibility
                                for the remote playback queue has been successfully transferred
                                from the computing device to the at least one given playback device"

       330.    Initially, as I demonstrate later in this report, the written description of the ’033

patent does not provide adequate support for this limitation. Thus, the disclosure of this limitation

in the prior art exceeds what is provided in the written description.

       331.    Moreover, Sonos applies this limitation broadly for purposes its infringement

allegations. For example, Sonos's infringement contentions allege that this limitation is satisfied

where the Cast button changes color after being selected. 11-21-2022 Sonos Infringement

Contentions at 76-77 (stating that “Cast button” is “filled in” or turns “dark grey”). Sonos also

appears to interpret “detecting an indication that playback responsibility for the remote playback

queue has been successfully transferred” so broadly as to encompass a Cast-receiver retaining

playback responsibility if transfer is unsuccessful. Id. at 84 (“Further confirming that each Cast-

enabled display is programmed with the functional capability to detect an indication that playback

responsibility for the remote playback queue has been successfully transferred from the Cast -

enabled display to at least one Cast-enabled media player is the fact that the Cast-enabled display

will take back over playback responsibility that was the subject of the “stream transfer” if the Cast-

enabled display does not receive such an indication.”). I understand that claims are to be

interpreted and applied in the same way for both infringement and invalidity.

       332.    In my opinion, the prior art YTR system discloses this limitation. For example,

after a user presses the Connect/Reconnect button to transfer playback to the one or more playback

devices (Screens), the YTR application detects an indication that playback responsibility for the

remote playback queue has been successfully transferred from the computing device to the at least


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one given playback device and displays a "Connected to Leanback screen" dialog to inform the

user that the playback responsibility has been successfully transferred. For example, the

screenshot below form Video #1 shows a user pressing the Connect button to transfer playback to

the playback device and, thereafter, the YTR application detecting successful transfer of playback

responsibility and displaying the "Connected to Leanback screen" dialog:




Video     #1    at   1:06-1:19;    see   also                                102,     lines      35-41;

StatusBarNotifier.java 103, lines 63-79; strings.xml104, line 138. This detection occurs after the

YTR       receives   the     SCREEN_CONNECTED              message      which         triggers      the

BIG_SCREEN_CONNECTED intent. C                                              105,    lines 49-51. This



        102




                                                                  /


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intent also toggles the Connect/Reconnect button into a Disconnect button when playback

responsibility has successfully been transferred. See                     106,   lines 74-77, 357-371,

506-537. Similarly, the YouTube Remote application detects playback has been transferred and

updates the layout of the user interface to show the transport controls for controlling playback on

the Screens, as can be seen in the image above which shows the YTR application with updated

controls for controlling playback on the device.                     107, lines   205-219, 1158-1196.

       333.    The YTR application will also retain playback responsibility if it does not detect

that playback responsibility has been successfully transferred. For instance, if a user taps t he

Connect button and no Screens have been paired, the YTR application will not receive the

SCREEN_CONNECTED. For instance, the image below shows the YTR application displaying

a “No screen detected” indication. As just mentioned, above, Sonos has read this limitation

broadly to encompass detecting an error that causes cause the computing device to retain playback.




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https://web.archive.org/web/20101227075329/https://androidcommunity.com/youtube -remote-

for-android-20101223/

                       (ix)    Limitation 1.9: "after detecting the indication, transitioning from i)
                               the first mode in which the computing device is configured for
                               playback of the remote playback queue to ii) a second mode in which
                               the computing device is configured to control the at least one given
                               playback device's playback of the remote playback queue and the
                               computing device is no longer configured for playback of the remote
                               playback queue."

       334.    Initially, as I demonstrate later in this report, the written description of the ’033

patent does not provide adequate support for this limitation. Thus, the disclosure of this limitation

in the prior art exceeds what is provided in the written description.

       335.    In my opinion, the prior art YT Remote system discloses and renders obvious this

limitation.




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       336.    After detecting an indication—as discussed in the prior limitation—the YTR

application transitions from the standalone mode (the first mode in which the computing device is

configured for playback of the remote playback queue) to a remote control mode (second mode).

In the remote control mode the YTR Application is configured to control the one or more Screens

and the YTR Application is no longer configured for playback of the remote playback queue. For

example, Video#1, a screenshot of which is shown below, shows a use r selecting the Connect

button on the YTR application, which results in the user detecting an indication that playback

transfer was successful an displaying the "connected to leanback screen") and also causes the YTR

application to transition into the remote control mode where it no longer is locally playing the

video and instead displays transports controls (e.g., pause, skip forward, skip backward, etc.) that

the user employs to control playback on the Screen.




Video #1 at 1:06-1:57 ("I can control YouTube Leanback directly from my phone"). While this

video shows a user who has not initiated party mode, the July 12, 2011 source code shows that the


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transition from standalone to remote control mode is the same whether the user is in party mode

or non-party mode. In particular, transferring playback from the YTR Application to the Screens

causes the user interface to transition from controlling the local playback on the mobile device to

controlling the Screens, and to stop playback on the mobile device. See                         108,


lines 207, 218; see also id., lines 1158-1196 ("Update the layout of the UI controls based on

whether we are in landscape/portrait and remote/standalone mode…."); Section IX.A. (YouTube

Remote System).

       337.    To the extent Sonos argues that YTR application detects and indication that

playback responsibility has been transferred concurrently —rather than prior to—with the

transition to the second mode in which the transport controls of the YTR applicatio n are configured

to control playback on the Screens, this limitation would have at least been obvious. A POSITA

would understand that implementing the detection and updating of the UI transport control can be

sequenced or done concurrently. Indeed, sequencing the operation so that the detection occurs

before the UI transport control changes was obvious to try because it involved choosing from a

finite number of identified, predicable solutions-namely, (1) modifying the transport controls prior

to receiving the claimed indication, (2) modifying the transport controls concurrently with the

claimed indication, and (3) updating the transport controls after the claimed indication -with a

reasonable expectation of success. Sequencing the detection and the modification of the transports

controls was also a straightforward design choice requiring only minimal modifications to

software. Thus, it would have at least been obvious for the YTR application to sequence the

operations such that it first detects an indication and displays the Connected to Leanback Screen



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               4.        Claim 2

                         (i)   "The computing device of claim 1, wherein the instruction comprises
                               an instruction for the cloud-based computing system associated with
                               the media service to provide the data identifying the next one or
                               more media items to the given playback device for use in retrieving
                               the at least one media item from the cloud-based computing system
                               associated with the cloud-based media service."

       338.    In my opinion, the prior art YT Remote system discloses this limitations for the

reasons I discussed above in connection with Limitation 1.7.

               5.        Claim 4

                         (i)   Limitation 4.1: "The computing device of claim 1, wherein the
                               representation of the one or more playback devices comprises at
                               least one selectable indicator for a group of playback devices that
                               includes the given playback device and one or more other playback
                               devices that are to be configured for synchronous playback of the
                               remote playback queue"

       339.    Sonos's applies this limitation broadly for purposes its infringement allegations.




                                                               See 1-20-2022 Sonos Infringement

Contentions, Ex. B ('033 Patent) at pp 69-73. I understand that claims are to be interpreted and

applied in the same way for both infringement and invalidity. Thus, at least under Sonos's

interpretation the prior art YT Remote system discloses and renders obvious this limitation.

       340.    For example, I showed above that the YT Remote includes a representation of the

one or more playback devices, such as a "Connect" button. Where two or more Screens have been

connected to the Lounge session, the Connect button also comprises a selectable indicator for a


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group of playback devices that includes the given playback device and one or more other playback

devices that are to be configured for synchronous playback of the remote playback queue. Indeed,

upon tapping the Connect button the video will transfer to playing back synchronously on the

selected group of Screens.

       341.    This limitation is also rendered obvious in view of the device -picker in the

YouTube Remote patent.

       342.    First, a POSITA would understand that an item in the device-picker can represent

a group of playback devices. For instance, a Screen in the YTR system can comprise a group of

playback devices, such as a computer that is connected via cable to a television, that play back in

synchrony. The screenshot on the left below is from Video #2, which shows a user transfer

playback from the YTR application to a PC that the user says is hooked up to his TV "via VGA"

(0:22-0:45). Thus, a POSITA would understand that an icon on the device-picker (e.g., the Living-

room TV icon on the right) can reflect a group of playback devices that will play in synchrony.




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Video                     #2                  at                   0:22-0:45                    (left);

https://web.archive.org/web/20120229040509/https://market.android.com/details?id=com.google

.android.ytremote (GOOG-SONOS-NDCA-00108095 at 114). (right).

        343.   Second, the YTR patent discloses that the device-picker allows a user to select "one

or more previously paired controlled devices." '998 patent at 10:67 -11:6. A POSITA would

understand this teaching could be implemented by having individual icons for each of the paired

controlled devices, or by providing an icon for a group of previously paired controlled devices. At

minimum, having the device-picker display an icon that represents a group of playback -devices

was obvious. A POSITA would have recognized that allowing a user to display a single icon that

represents a group of playback devices would be beneficial because it would allow a user to select

and transfer playback to multiple devices with a click of a single icon, rather than h aving to select

the icon for the multiple devices separately. Because the device -picker disclosed by the YTR

patent already discloses that it can be used to select and transfer playback to multiple playback

devices, representing those multiple playback devices using a single icon on the user interface

would have been a straightforward and trivial implementation. The user interface would simply

display a single icon that when pressed would function as if the individual icons of the group were

selected. Indeed, by the time of the alleged invention of the '033 patent it was well-known that a

group of playback devices could be presented on the display as a single icon for transferring

playback. See e.g., Section VIII.

               6.        Limitation 4.2: "wherein the user input indicating the selection of at
                         least one given playback device from the one or more playback devices
                         comprises user input indicating a selection of the group of playback
                         devices."

        344.   In my opinion, the prior art YT Remote system discloses and renders obvious this

limitation. See Limitation 4.1.



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                            in retrieving the at least one media item from the cloud-based
                            computing system associated with the cloud-based media service.”
       643.    In my opinion, the prior art YT Remote system satisfies this limitation for the

reasons I discussed above. See Limitation 1.7.


               3.        Claim 4
                         (i) Limitation 4.1: “The computing device of claim 1, wherein the
                             representation of the one or more playback devices comprises at
                             least one selectable indicator for a group of playback devices that
                             includes the given playback device and one or more other playback
                             devices that are to be configured for synchronous playback of the
                             remote playback queue”
       644.    Sonos’s applies this limitation broadly for purposes its infringement allegations.

For example, Sonos’s infringement contentions allege that this limitation is satisfied because the

accused YouTube applications allegedly display an icon in the device-picker that when selected

transfers playback to multiple playback devices, even though the accused YouTube Remote

application do not allow users to select and group speakers together. See 1-20-2022 Sonos

Infringement Contentions, Ex. B (‘033 Patent) at pp 69-73. I understand that claims are to be

interpreted and applied in the same way for both infringement and invalidity. At least under

Sonos’s interpretation, the prior art YT Remote system in view of the prior art Ramsay renders

obvious this limitation.

       645.    As discussed above with respect to claim 1, the prior art Ramsay’s existing device-

picker permitted users to select multiple playback devices that are configured for synchronous

playback of media in a queue by the time of the alleged invention. For instance, Ramsay discloses

that its system uses “known discovery protocols” to discover playback device. Ramsay at 14:42-

52. Those playback devices can be then be displayed on its device-picker. For instance, Figure 4

of Ramsay (below)- discloses a device-picker that allows the selection of a “speaker,” a “group”

of speakers, or a “zone”.




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       646.    It would have been obvious to modify the YTR so that a selectable icon could be

displayed. Because the YTR system already disclosed the ability to detect, display and transfer

playback to multiple devices, allowing multiple devices to be represented by a single icon (rather

than two separate icons) would have been an obvious design choice requiring only minor

modification to the user interface display. A POSITA would have been motivated to make this

modification because it was straightforward and routine, and because a user could benefit from

being able to select a single icon to transfer playback to their devices, rather than having to

individually select an icon for each device.


                      (ii)  Limitation 4.2: “wherein the user input indicating the selection of at
                            least one given playback device from the one or more playback
                            devices comprises user input indicating a selection of the group of
                            playback devices.”
       647.    In my opinion, the prior art YT Remote in view of the Ramsay prior art renders

obvious this limitation. See Limitation 4.1.


                                               272
